 Case 2:21-cr-00140-JNP Document 21-2 Filed 07/13/22 PageID.124 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF UTAH


UNITED STATES OF AMERICA,
               Plaintiff,                ORDER [GRANTING/DENYING] PRO HAC
                                         VICE ADMISSION
 v.
                                         CASE NO: 2:21CR00140
SEZGIN BARAN KORKMAZ,

                  Defendant.



      Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of

Matthew Crowl. Based on the motion and for good cause appearing,

      IT IS HEREBY ORDERED that the motion is GRANTED/DENIED.



DATED this ____ day of __________, 20_______.


                                                    BY THE COURT:
